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Case 1:19-cv-00408-TNM Document 10 Filed 02/28/19 Page 5 of 12
               Case 1:19-cv-00408-TNM Document 10 Filed 02/28/19 Page 6 of 12


February 28, 2019

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 0750.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     February 27, 2019, 4:06 am
Location:                                               WASHINGTON, DC 20500
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 11.0oz
Destination Delivery Address

Street Address:                                         1600 PENNSYLVANIA AVE NW
City, State ZIP Code:                                   WASHINGTON, DC 20500-0003
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
               Case 1:19-cv-00408-TNM Document 10 Filed 02/28/19 Page 7 of 12


February 28, 2019

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 0774.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     February 26, 2019, 10:59 am
Location:                                               WASHINGTON, DC 20310
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 11.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


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assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
               Case 1:19-cv-00408-TNM Document 10 Filed 02/28/19 Page 8 of 12


February 28, 2019

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 0798.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     February 27, 2019, 4:04 am
Location:                                               WASHINGTON, DC 20220
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 11.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


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assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
               Case 1:19-cv-00408-TNM Document 10 Filed 02/28/19 Page 9 of 12


February 28, 2019

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 0781.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     February 26, 2019, 11:03 am
Location:                                               WASHINGTON, DC 20528
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 11.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
               Case 1:19-cv-00408-TNM Document 10 Filed 02/28/19 Page 10 of 12


February 28, 2019

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 0613.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     February 26, 2019, 11:59 am
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 11.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
               Case 1:19-cv-00408-TNM Document 10 Filed 02/28/19 Page 11 of 12


February 28, 2019

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 0804.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     February 27, 2019, 5:44 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 11.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
               Case 1:19-cv-00408-TNM Document 10 Filed 02/28/19 Page 12 of 12


February 28, 2019

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7018 1830 0001 0203 0743.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     February 27, 2019, 5:44 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 11.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
